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 2   428 J Street, 3rd Floor
     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     JUAN PACHECO
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       )     No. CR-S 07-393 LKK
12                                   )
                    Plaintiff,       )
13                                   )     STIPULATION AND ORDER VACATING
          v.                         )     DATE, CONTINUING CASE, AND
14                                   )     EXCLUDING TIME
     JUAN PACHEC0, et al.            )
15                  Defendant.       )
                                     )     Date   December 4, 2007
16   _______________________________ )     Time: 9:30 a.m.
                                     )     Judge: Karlton
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18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Michael Beckwith, Counsel for Plaintiff; Attorney Dina L.
20
     Santos, Counsel for Defendant Juan Pacheco; Attorney Matthew Bockman,
21
     Counsel for Defendant Jose Luis Orozco Moreno; Attorney Steven Bauer,
22
     Counsel for Defendant Edgar Adrain Moreno, that the status conference
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     scheduled for October 30, 2007, be vacated and the matter be continued
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     to this Court's criminal calendar on December 4, 2007, at 9:30 a.m. for
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     further status.
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          This continuance is requested by the defense in order to permit
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     counsel to conduct investigation and continue in negotiations with the
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             Case 2:07-cr-00393-LKK Document 22 Filed 10/30/07 Page 2 of 3


 1   prosecution in attempt to finalize a plea agreement.           We have just
 2   received a draft of a plea agreement and require time to have the plea
 3   agreement read by a certified interpreter and to possibly meet with the
 4   government before the plea for further negotiations.
 5         IT IS FURTHER STIPULATED that time for trial under the Speedy
 6   Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 7   3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
 8   ends of justice served in granting the continuance and allowing the
 9   defendant further time to prepare outweigh the best interests of the
10   public and the defendant in a speedy trial.
11         The Court is advised that all counsel have conferred about this
12   request, that they have agreed to the December 4, 2007 date, and that
13   all counsel has authorized Ms. Santos to sign this stipulation on their
14   behalf.
15         IT IS SO STIPULATED.
16
17   Dated: October 29, 2007                   /S/ Dina L. Santos
                                              DINA L. SANTOS
18                                            Attorney for
                                              Juan Pacheco
19
     Dated: October 29, 2007                   /S/ Matthew Bockman
20                                            MATTHEW BOCKMAN
                                              Attorney for
21                                            Jose Luis Orozco Moreno
22   Dated: October 29, 2007                   /S/ Steven Bauer
                                              STEVEN BAUER
23                                            Attorney for
                                              Edgar Adrain Moreno
24
25   Dated: October 29, 2007             /S/ Michael Beckwith
                                             MICHAEL BECKWITH
26                                           Assistant United States Attorney
                                             Attorney for Plaintiff
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     Stipulation and Order                    2
             Case 2:07-cr-00393-LKK Document 22 Filed 10/30/07 Page 3 of 3


 1
                                         O R D E R
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           IT IS SO ORDERED.
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                       By the Court,
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     Dated: October 29, 2007
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     Stipulation and Order                    3
